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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 JILMAR RAMOS-GOMEZ,

         Plaintiff,                                  Case No. 19-13475

 v.                                                  Honorable Laurie J. Michelson
                                                     Magistrate Judge Michael J. Hluchaniuk
 REBECCA J. ADDUCCI, et al,

         Defendants.


                 ORDER REGARDING DETERMINATION OF MOTION


       Before the Court is Defendant Richard Groll’s Motion to Dismiss Amended Complaint,

filed August 24, 2020. The response brief and any reply brief shall be filed in compliance with

E.D. Mich. LR 7.1.

       If the total brief (including exhibits) exceeds 20 pages, a courtesy copy of the motion, brief,

response, or reply, with tabbed and highlighted exhibits, shall be mailed or hand delivered to

United States District Judge Laurie J. Michelson at 231 W. Lafayette, Room 737, Detroit, MI

48226. Courtesy copies should conform to Judge Michelson’s case-management requirements that

were docketed earlier in the case (usually as part of the scheduling order).

       If, upon review of all the briefing, the Court finds that oral argument would aid in resolving

the disputed issues, a notice will be filed on the docket setting a hearing. Otherwise, the Court will

decide the motion on the briefs. See Fed. R. Civ. P. 78(b); E.D. Mich. LR 7.1(f).

       SO ORDERED.

       Dated: August 27, 2020

                                               s/Laurie J. Michelson
                                               LAURIE J. MICHELSON
                                               UNITED STATES DISTRICT JUDGE
